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Hello, Your Honor,

My name is Dalley R. Maynard Jr. and I am a close friend to Mark Holdren. I first met Mark in 2015 and
we were coworkers for seven years, but are friends still today. Mark is the kind of guy that would give you
the shirt off his back if you needed it. I've personally seen Mark help so many people and touch their lives
in ways that are so special. He has helped friends, family members, coworkers, myself, and even my
father with things like working on our vehicles, projects on our houses, helping people move out of old
homes into new ones, or and even just helping someone cook a meal. Mark never asked for anything in
return. Mark and his family and my family also grew close. Our children have been to each other's
birthday parties, pool parties, cook outs, holidays, fishing and kayaking trips, and even ball games. Mark
and I also helped coach his daughters softball team. He's a good dad to his children. Mark was my best
man at my wedding in 2019. Everyone I know thinks the world of Mark. Mark knows he made a mistake
and he regrets the bad decisions that were made. He wants and has a strong will to make up for what has
happened. I think that he is beyond capable of this. I would like to think that even though he made this
mistake, that God has a plan for my friend. I would like to thank you, Your Honor, for taking the time to
listen to my thoughts and prayers on my good friend Mark Holdren.

Have a blessed day,
Dalley Maynard Jr.
